
9 N.Y.2d 818 (1961)
Northridge Cooperative Section No. 1, Inc., Respondent,
v.
32nd Avenue Construction Corp. et al., Appellants, et al., Defendants.
Court of Appeals of the State of New York.
Argued February 27, 1961.
Decided March 30, 1961.
Paul W. Williams, David Morgulas and Peter D. Schapiro for appellants.
Bernard Buchwald, Bernard Nadel, Maxwell H. Tretter and Edmund B. Hennefeld for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order affirmed, with costs. We decide no more than that a cause of action is stated and that the challenged allegations should not be stricken as sham. Question certified answered in the affirmative. No opinion.
